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Case 3:25-cr-08048-KML Document1 Filed 04/01/25 Page1of2

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TIMOTHY COURCHAINE APR 0 1 2025
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District of Arizona eae Brann 4
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Attorneys for Plaintiff |

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

- -PCT-KML (ESW)
United States of America, No, R29 08048-PCT

Plaintiff,
INDICTMENT

VIO: 18 U.S.C. § 2250(a)
ie ailure to Register as a Sex
ffender)
Count 1

VS.

Ronald Eldred Hovel,
Defendant.

THE GRAND JURY CHARGES:

Between on or about August 22, 2023 and continuing through on or about March
13, 2025, in the District of Arizona, Defendant, RONALD ELDRED HOVEL, a person
required to register under the Sex Offender Registration and Notification Act and a sex
offender by reason of a conviction under federal law for Sexual Abuse in violation of 18
U.S.C. §§ 1153 and 2243(a) in the United States District Court for the District of Arizona,
in case number CR-03-00358-001-PCT-JAT, did knowingly fail to register and update a
registration as required by the Sex Offender Registration and Notification Act.
/I/
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Case 3:25-cr-08048-KML Document1 Filed 04/01/25 Page 2 of 2

In violation of Title 18, United States Code, Section 2250(a).
A TRUE BILL

sf
FOREPERSON OF THE GRAND JURY
Date: April 1, 2025

TIMOTHY COURCHAINE
United States Attorney
District of Arizona

s/

CLAY S. REHRIG
Special Assistant U.S. Attorney

